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 6
                                   UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                    )
10                                                )
                      Plaintiff,                  )         2:10-cr-579-GMN-RJJ
11                                                )
     vs.                                          )
12                                                )
     CORNELIU WEIKUM and                          )               ORDER
13   YULIA MISHINA-HEFFRON,                       )
                                                  )
14                    Defendant,                  )
                                                  )
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             This matter was submitted to the undersigned Magistrate Judge on a Motion to Continue
16
     Hearing (#35).
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             The Court having reviewed the Motion (#35) and good cause appearing therefore,
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             IT IS HEREBY ORDERED that Motion to Continue Hearing (#35) is GRANTED IN
19
     PART AND DENIED IN PART.
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             IT IS FURTHER ORDERED that the Motion to Continue Hearing (#35) is GRANTED
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     in that the hearing scheduled for January 3, 2011, at 9:00 AM is VACATED and
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     RESCHEDULED to January 13, 2011, at 9:00 AM.
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             IT IS FURTHER ORDERED that the Motion to Continue Hearing (#35) is DENIED as
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     to all other requests.
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             DATED this 29th       day of December, 2010.
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28                                                ROBERT J. JOHNSTON
                                                  United States Magistrate Judge
